Case 1:05-cr-10029-.]DT Document 20 Filed 06/09/05 Page 1 of 2 Page|D 19

IN THE UNITED sTATEs DISTRlCT CoURT|_,i ,} _ 9 F’/;) 3
FOR THE WESTERN DISTRICT 0F TENNESsa_é; ar ' 39
EASTERN DIVISION ’ ` -

  

UNITED STATES OF AMERICA

vs CR NO. 1 :OS-CR-l 0029-01-T

GILDARDO YBARRA-MORENO

ORDER ON CHANGE OF PLEA
This cause came on to be heard on June 9, 2005 , Assistant U. S. Attorney,
J ames W. Powell, appearing for the government, and the defendant appeared in person
and with counsel, M. Dianne Smothers, who Was appointed
With leave of the Court, the defendant Withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in One (l) Count Indictment.
This case has been set for sentencing on Thursdav. September 8, 2005. at 8:45 A.M.

The defendant is remanded to the custody of the United States Marshal.

C)§w»~/¢¢§‘<QW

JAME . TODD
UNIT STATES DISTRICT JUDGE

DATE: q 991/he WS/

IT IS SO ORDER_ED.

This document entered on the docket sheet |n comp§ance
with nme 55 and/or 32(b) FRCrP on 3 7

 

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J ames W. PoWell

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Honorable J ames Todd
US DISTRICT COURT

